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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                              10/19/2020

STEVEN NACHSHEN,

                                                Plaintiff,                         19CV1903 (RA) (KHP)

                             -against-                                           ORDER SCHEDULING CASE
                                                                                MANAGEMENT CONFERENCE
53-55 WEST 21ST OWNER LLC, et al.,

                                                Defendants.

-----------------------------------------------------------------X

KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         This case has been referred to me for General Pretrial supervision (including scheduling,

discovery, non-dispositive pretrial motions, and settlement: ECF #42). A telephonic Case

Management conference in this matter is hereby scheduled for Monday, November 23, 2020

at 11:30 a.m. Counsel is directed to call into the court conference line at the scheduled time.

Please dial (866) 434-5269 Code: 4858267.

         SO ORDERED.

Dated: New York, New York
       October 19, 2020


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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
